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18                               UNITED STATES DISTRICT COURT
19                                     DISTRICT OF NEVADA
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     ORACLE USA, INC., a Colorado corporation;       Case No. 2:10-cv-00106-LRH-PAL
21   ORACLE AMERICA, INC. a Delaware
     corporation; and ORACLE INTERNATIONAL           [PROPOSED] ORDER GRANTING
22   CORPORATION, a California corporation,          MOTION TO SEAL ORACLE’S
                                                     TRIAL BRIEF
23                 Plaintiffs,
            v.                                       Judge:    Hon. Larry R. Hicks
24
     RIMINI STREET, INC., a Nevada corporation;
25   SETH RAVIN, an individual,
26                  Defendants.
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                                                                    Case No. 2:10-cv-00106-LRH-PAL

             [PROPOSED] ORDER GRANTING MOTION TO SEAL ORACLE’S TRIAL BRIEF
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 1                                        [PROPOSED] ORDER

 2         Pending before this Court is Plaintiffs Oracle USA, Inc., Oracle America, Inc., and

 3   Oracle International Corporation’s (collectively “Oracle”) Trial Brief. Federal Rule of Civil

 4   Procedure 26(c) provides broad discretion for a trial court to permit sealing of court documents

 5   for, inter alia, the protection of “a trade secret or other confidential research, development, or

 6   commercial information.” Fed. R. Civ. P. 26(c). Having considered Oracle’s Motion to Seal,

 7   good cause having been shown:

 8         IT IS HEREBY ORDERED THAT Oracle’s Motion to Seal is GRANTED. The Clerk of

 9   the Court shall file under seal the documents specified in Oracle’s Motion.

10         IT IS SO ORDERED.

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     DATED:_________________                              By:_________________________________
12                                                              United States District Court Judge
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                                                      1                         Case No. 2:10-cv-00106-LRH-PAL

             [PROPOSED] ORDER GRANTING MOTION TO SEAL ORACLE’S TRIAL BRIEF
